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14
                         CENTRAL DISTRICT OF CALIFORNIA
                                EASTERN DIVISION
15

16   JASON IRA LIVON,                       No. 5:21-cv-00713-SP
17                   Plaintiff,
                                            JUDGMENT OF REMAND
18   v.
19   KILOLO KIJAKAZI,
20   Acting Commissioner of Social
     Security,
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                     Defendant.
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 Case 5:21-cv-00713-SP Document 20 Filed 11/10/21 Page 2 of 2 Page ID #:57



 1         The Court having approved the parties’ Stipulation to Remand for Further
 2   Proceedings Pursuant to Sentence Four of 42. U.S.C. § 405(g) and for Entry of
 3   Judgment in Favor of Plaintiff (“Stipulation to Remand”) lodged concurrent with
 4   the lodging of the within Judgment of Remand, IT IS HEREBY ORDERED,
 5   ADJUDGED AND DECREED that the above-captioned action is remanded to the
 6   Commissioner of Social Security for further proceedings consistent with the
 7   Stipulation to Remand.
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     DATED: November 10, 2021             _______________________________
 9                                        HON. SHERI PYM
                                          UNITED STATES MAGISTRATE JUDGE
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